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                                                                                                United States Bankruptcy Court
                                                                                                    Southern District of Texas

                                                                                                        ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                            May 19, 2022
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                  VICTORIA DIVISION

 In re:                                                  )    Case No. 22-60020
                                                         )
 INFOW, LLC, et al.,                                     )    Chapter 11 (Subchapter V)
                                                         )
               Debtors. 1                                )    Jointly Administered
                                                         )

                                      STIPULATION AND ORDER

          The above-captioned debtors and debtors in possession (collectively, the “Debtors”) and

Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel Fontaine

(collectively, the “Texas Plaintiffs” and together with the Debtors, the “Parties”) hereby enter into

this stipulation (the “Stipulation”) and agree as follows:

          WHEREAS, on April 18, 2022 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under subchapter v of chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”) in the United States Bankruptcy Court for the Southern District of Texas, Victoria Division

(the “Bankruptcy Court”);

          WHEREAS, prior to the Petition Date, the Texas Plaintiffs commenced state-court actions

against one or more of the Debtors styled as: (a) Neil Heslin v. Alex E. Jones, Infowars, LLC, Free

Speech Systems, LLC, and Owen Shroyer, Cause No. D-1-GN-18-001835, in the 261st District

Court of Travis County, Texas; (b) Scarlett Lewis v. Alex E. Jones, Infowars, LLC, Free Speech

Systems, LLC, Cause No. D-1-GN-18-006623, in the 53rd District Court for Travis County, Texas;

(c) Leonard Pozner and Veronique De La Rosa v. Alex E. Jones, Infowars, LLC, Free Speech



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  The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax identification
number are as follows: InfoW, LLC, f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a Infowars Health, LLC (no
EIN), Prison Planet TV, LLC (0005). The address for service to the Debtors is PO Box 1819, Houston, TX 77251-
1819.
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Systems, LLC, Cause No. D-1-GN-18-001842, in the 345th District Court of Travis County, Texas;

(d) Marcel Fontaine v. Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC, and Kit Daniels,

Cause No. D-1-GN-18-001605 in the 459th District Court for Travis County, Texas; and (e) Neil

Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, Marcel Fontaine v. Alex E. Jones,

Infowars, LLC, Free Speech Systems, LLC, PQPR Holdings Limited LLC, JLJR Holdings, LLC,

PLJR Holdings, LLC, Carol Jones, David Jones, PQPR Holdings, LLC, JLJR Holdings Limited,

LLC, AEJ Holdings, LLC, AEJ Trust 2018, Cause No. D-1-GN-22-001610, in the 200th District

Court for Travis County (collectively, as may have been consolidated, the “State Court

Litigation”);

       WHEREAS, one or more of the Debtors removed or attempted to remove the lawsuits

comprising the State Court Litigation to the U.S. Bankruptcy Court for the Western District of

Texas (the “Removal Court”);

       WHEREAS, the Texas Plaintiffs filed The Texas Litigation Plaintiffs’ Supplemental

Motion to Dismiss Petition [ECF No. 42] (the “Motion to Dismiss”) with the U.S. Bankruptcy

Court for the Southern District of Texas on April 27, 2022 (the “Motion to Dismiss”);

       WHEREAS, the Debtors filed their respective Schedules of Assets and Liabilities on May

2, 2022 [ECF Nos. 59 through 78] (collectively, the “Schedules”) indicating that the Debtors have

the following assets (a) domain names, trademarks, copyrights, and intellectual property rights

associated with websites; (b) royalty payments related to Youngevity; (c) causes of action for

malpractice for their prepetition attorneys; and (d) rights to payments from Alex Jones (“AEJ”)

and Free Speech Systems, LLC (“FSS”) for administrative expenses and satisfaction of claims

under the Plan Support Agreement [ECF Nos. 6-3 and 48-2] (the “PSA”) and Declaration of Trust

for the 2022 Litigation Settlement Trust [ECF Nos. 6-2 and 48-1] (the “Declaration of Trust”);



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       WHEREAS, after investigation by the Debtors’ Chief Restructuring Officer and

professionals, the Debtors do not have any assets other than those reflected in the Schedules, PSA,

and/or Declaration of Trust;

       WHEREAS, relying on the veracity of the Schedules and disclosure of the PSA and

Declaration of Trust, the Texas Plaintiffs no longer wish to be creditors of the Debtors, to assert

or hold claims, as that term is defined in Bankruptcy Code § 101(5) against the Debtors or to

otherwise participate in the Debtors’ bankruptcy cases;

       NOW, THEREFORE, IT IS STIPULATED BY THE PARTIES AND, UPON

APPROVAL BY THE BANKRUPTCY COURT, ORDERED THAT:

       1.      Dismissal of Claims Against the Debtors. Subject to Paragraph 2 of this Stipulation,

each of the Texas Plaintiffs hereby agree to dismiss their claims solely against the Debtors in the

State Court Litigation with prejudice. For the avoidance of doubt, the Texas Plaintiffs each dismiss

with prejudice any and all claims or rights to payment for sanctions solely against the Debtors or

their bankruptcy estates to the fullest extent allowable under applicable nonbankruptcy law and

shall not seek the imposition or collection of any sanctions awarded against the Debtors or their

bankruptcy estates for acts occurring prior to the date of approval of the Stipulation by the

Bankruptcy Court. The dismissal of such claims and rights to payment by the Texas Plaintiffs in

no way precludes the Texas Plaintiffs from asserting claims against any of the Debtors based on

any causes of action that arise after the date the Bankruptcy Court approves this Stipulation. The

Texas Plaintiffs and the Debtors shall cooperate to provide for the dismissal with prejudice of the

Debtors from each of the actions comprising the State Court Litigation, including the filing of the

signed Stipulation or any reasonably necessary documentation with the Removal Court. The

approved Stipulation may be filed with the Removal Court and shall have the effect of a stipulation



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of voluntary dismissal under Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Upon approval of

the Stipulation by the Bankruptcy Court, the Texas Plaintiffs shall not hold any claims against the

Debtors and shall not be creditors of the Debtors.

        2.      Limitations on Dismissal. The dismissal of the claims against the Debtors by the

Texas Plaintiffs contained in this Stipulation shall not be effective to the extent that the Debtors

hold undisclosed assets, which are the property of the Debtors’ bankruptcy estates under 11 U.S.C.

§§ 541 or 1115, on the date that the Bankruptcy Court approves this Stipulation. For purposes of

this Stipulation, the Debtors’ disclosed assets comprise: (a) those assets reflected in the Schedules

and (b) funds stated to be paid under the PSA or Declaration of Trust— irrespective of whether

the PSA or Declaration of Trust contemplated such funds to be paid to the Debtors, their estates,

or the 2022 Litigation Settlement Trust, if the Debtors, among other things, satisfy the conditions

set out in the PSA, Declaration of Trust or the confirmed a plan of reorganization in the

Debtors’ bankruptcy cases. To the extent that the Texas Plaintiffs assert that the Debtors or their

estates owned undisclosed assets on the date of approval of this Stipulation and seek to assert

claims against the Debtors that would otherwise be dismissed, the Texas Plaintiffs shall first file a

motion with the Bankruptcy Court seeking an order determining that the dismissals contemplated

by this Stipulation have no force and effect. In the event the Bankruptcy Court finds that the

dismissals have no force and effect by a final order, the Texas Plaintiffs shall thereafter have the

right to file any claims, suits, complaints, actions, or proceedings in any court of appropriate

jurisdiction.

        3.      Withdrawal of the Motion to Dismiss. Upon approval of the Stipulation by the

Bankruptcy Court, the Texas Plaintiffs’ Motion to Dismiss shall be deemed withdrawn with

prejudice. The dismissal with prejudice of the Texas Plaintiffs Motion to Dismiss shall not impair



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the right of the Texas Plaintiffs to bring by way of motion claims by them that the Debtors or their

estates owned undisclosed assets on the date of the approval of the Stipulation.

       4.      Withdrawal of Opposition to Remand. Upon approval of this Stipulation, the Texas

Plaintiffs may file a pleading or other document, to be approved by the Debtors, which approval

shall not be unreasonably withheld, with the Removal Court notifying the Removal Court of this

Stipulation and that the Debtors do not oppose remand, without in any manner admitting any

assertion of fact or conclusion of law set out in any of the Texas Plaintiffs pleadings in this

Bankruptcy Court or in the State Court. At the Texas Plaintiffs’ request, the Debtors shall join in

the Texas’ Plaintiffs filing or take other reasonable steps to inform the Removal Court that the

Debtors do not oppose remand.

       5.      Non-Applicability of Automatic Stay and/or Dismissals to Non-Debtor Parties. For

the avoidance of doubt, (a) the automatic stay pursuant to section 362 of the Bankruptcy Code

shall not prohibit the continuation of the State Court Litigation against any person other than the

Debtors; and (b) the dismissal of claims against the Debtors by the Texas Plaintiffs in this

Stipulation shall not release, dismiss, or otherwise affect any claims, causes of actions, or other

rights against any person other than the Debtors, including but not limited to AEJ and FSS and the

other defendants named in the State Court Litigation.

       6.      Subject to Bankruptcy Court Approval. This Stipulation shall be binding on the

Parties and subject to the approval of the Bankruptcy Court. To the extent that the Bankruptcy

Court denies approval of this Stipulation, the Stipulation, all the agreements and the dismissals

contemplated, and mutual obligations contained herein shall be of no further force and effect.

       7.      Retention of Jurisdiction. The Court shall have and retain (a) with respect to any

dispute among only the Parties, sole and exclusive jurisdiction over the enforcement and/or



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implementation of the terms of this Stipulation, and (b) with respect to any dispute involving any

other person, including any of the Parties and AEJ and/or FSS, non-exclusive jurisdiction over the

enforcement and/or implementation of the terms of this Stipulation. The Parties hereby consent to

such jurisdiction to resolve any disputes or controversies arising from or related to this Stipulation.

Any motion or application brought before the Court to resolve a dispute arising from or related to

this Stipulation shall be brought on notice as provided by and in accordance with the Federal Rules

of Bankruptcy Procedure and the Local Bankruptcy Rules for the Southern District of Texas.

        8.       Modification of Stipulation. This Stipulation shall not be modified, altered,

amended, or vacated without written consent of all Parties hereto.


             August
             May     02, 2019
                 19, 2022




 STIPULATED AND AGREED ON MAY 18, 2022 BY AND AMONG:

 NEIL HESLIN, SCARLETT LEWIS,
 LEONARD POZNER, VERONIQUE
 DE LA ROSA, and MARCEL FONTAINE

 /s/ J. Maxwell Beatty                                 /s/ Avi Moshenberg

 THE BEATTY LAW FIRM PC                                MCDOWELL HETHERINGTON LLP
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 Suite 300, #383                                       Houston, Texas 77002
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Counsel to the Texas Plaintiffs

-and-




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INFOW, LLC (F/K/A INFOWARS, LLC),
IWHEALTH, LLC (F/K/A INFOWARS
HEALTH, LLC), AND PRISON PLANET TV, LLC

/s/ Kyung S. Lee
KYUNG S. LEE PLLC
Kyung S. Lee
State Bar No. 12128400
klee@kslpllc.com
700 Milam Street, STE 1300
Houston, Texas 77002
Tel. 713-301-4751
Proposed Counsel to the Debtors




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                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 22-60020-cml
InfoW, LLC                                                                                                             Chapter 11
IWHealth, LLC
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-6                                                  User: ADIuser                                                               Page 1 of 2
Date Rcvd: May 19, 2022                                               Form ID: pdf002                                                            Total Noticed: 8
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 21, 2022:
Recip ID                 Recipient Name and Address
db                     + IWHealth, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
db                     + InfoW, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
db                     + Prison Planet TV, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
aty                      Kyung Shik Lee, Kyung S. Lee PLLC, Pennzoil Place-Suite 1300, HOUSTON, TX 77002, UNITED STATES
cr                     + David Wheeler, et al., c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
intp                   + Insert Company Name, LLC, 1334 Brittmoore Rd, Ste 1327, Houston, TX 77043-4035
intp                   + Ray W. Battaglia, Law Offices of Ray Battaglia, PLLC, 66 Granburg Circle, San Antonio, TX 78218-3010
intp                   + Shelby A Jordan, Jordan & Ortiz PC, 500 N Shoreline Blvd, Ste 900, Corpus Christi, TX 78401-0658

TOTAL: 8

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr                             Neil Heslin, et al.
intp                           Nina Khalatova

TOTAL: 2 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 21, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 19, 2022 at the address(es) listed below:
Name                               Email Address
Avi Moshenberg
                                   on behalf of Creditor Neil Heslin et al. avi.moshenberg@mhllp.com, ana.sanchez@mhllp.com
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District/off: 0541-6                                          User: ADIuser                                                            Page 2 of 2
Date Rcvd: May 19, 2022                                       Form ID: pdf002                                                         Total Noticed: 8
Clifford Hugh Walston
                            on behalf of Creditor Neil Heslin et al. cliff@wbctrial.com, claudia@wbctrial.com;brittany@wbctrial.com

Ha Minh Nguyen
                            on behalf of U.S. Trustee US Trustee ha.nguyen@usdoj.gov

Jayson B. Ruff
                            on behalf of U.S. Trustee US Trustee jayson.b.ruff@usdoj.gov

Jon Maxwell Beatty
                            on behalf of Creditor Neil Heslin et al. max@beattypc.com,
                            1652348420@filings.docketbird.com,7671921420@filings.docketbird.com

Kyung Shik Lee
                            on behalf of Debtor Prison Planet TV LLC kslee50@gmail.com, Courtnotices@kasowitz.com

Kyung Shik Lee
                            on behalf of Debtor InfoW LLC kslee50@gmail.com, Courtnotices@kasowitz.com

Kyung Shik Lee
                            on behalf of Debtor IWHealth LLC kslee50@gmail.com, Courtnotices@kasowitz.com

Kyung Shik Lee
                            on behalf of Attorney Kyung Shik Lee kslee50@gmail.com Courtnotices@kasowitz.com

Melissa A Haselden
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                            haseldenbankruptcytrustee@gmail.com;mhaselden@ecf.axosfs.com;haselden.melissaa.r104367@notify.bestcase.com

R. J. Shannon
                            on behalf of Debtor IWHealth LLC rshannon@parkinslee.com,
                            rjshanno@icloud.com;arobles@parkinslee.com;arodriguez@parkinslee.com;5460230420@filings.docketbird.com

R. J. Shannon
                            on behalf of Debtor InfoW LLC rshannon@parkinslee.com,
                            rjshanno@icloud.com;arobles@parkinslee.com;arodriguez@parkinslee.com;5460230420@filings.docketbird.com

R. J. Shannon
                            on behalf of Debtor Prison Planet TV LLC rshannon@parkinslee.com,
                            rjshanno@icloud.com;arobles@parkinslee.com;arodriguez@parkinslee.com;5460230420@filings.docketbird.com

Randy W Williams
                            on behalf of Creditor David Wheeler et al. rww@bymanlaw.com, rww.trustee1@gmail.com;Bymanassociatespllc@jubileebk.net

Raymond William Battaglia
                            on behalf of Interested Party Ray W. Battaglia rbattaglialaw@outlook.com rwbresolve@gmail.com

Ryan E Chapple
                            on behalf of Creditor David Wheeler et al. rchapple@cstrial.com, aprentice@cstrial.com

Shelby A Jordan
                            on behalf of Interested Party Shelby A Jordan cmadden@jhwclaw.com

US Trustee
                            USTPRegion07.HU.ECF@USDOJ.GOV


TOTAL: 18
